STATEMENT OF FACTS
Shipley Baking Company and Allen Henderson brought a suit in equity against the city of Hartford and the officers of said municipal corporation to enjoin them from enforcing a municipal ordinance and to restrain the officers of said municipal corporation from collecting any license fees from the plaintiffs for the sale of their products in said municipal corporation.
According to the allegations of the complaint, Shipley Baking Company is a partnership located in the city of Fort Smith, Arkansas, and manufactures and sells bread at wholesale. It is alleged that their plant is modern in every respect and is equipped with the latest devices for the manufacturing, wrapping and packing of bread with a view to the sanitary handling of the same. It is alleged that their products are compounded from formulas worked out on a scientific basis, and that their products are wrapped and sealed in the plant by modern machinery so as to protect them from contact with any outside matter which would render them impure, and that their plant has been and is being operated under the jurisdiction and supervision, and in compliance with the rules and regulations, of the State Board of Health.
Allen Henderson alleges that he owns and operates a plant in the city of Fort Smith for compounding and bottling a cold drink known as "Dr. Pepper." He alleges that the product manufactured by him is prepared from formulas and ingredients which have been thoroughly tested by expert chemists and passed upon by skilled physicians. He alleges that every bottle of his product is thoroughly sterilized and washed and is handled, filled, capped and sealed entirely by machinery. He further alleges that his plant has been and is being operated under the supervision and inspection of the State Board of Health.
The complaint further alleges that their products are only sold in other towns at wholesale to retail merchants, and that deliveries of their goods are made by the plaintiffs *Page 505 
at stated intervals in order to supply their retail customers and to insure them that their products are fresh and sanitary. The ordinance of the city providing for a fee of $5 per month and other fees for longer and shorter periods of time for inspecting foods and drinks in the city of Hartford was attached as an exhibit to the complaint.
The ordinance provides that any one violating it shall be punished by a fine not to exceed $10 for each offense.
The defendants filed a demurrer to the complaint which was sustained by the chancery court. Whereupon the plaintiffs elected to stand upon their complaint, and it was decreed that the complaint of the plaintiffs should be dismissed at their cost. The plaintiffs have appealed.
(after stating the facts). The decree of the chancery court was erroneous. This case is ruled by the decision in Phillips v. City of Siloam Springs, ante p. 137. In that case the court held that under Crawford Moses' Digest, 5425, et seq., the power is conferred on the State Board of Health to require inspection of bakeries and to regulate the sale of their products, and that it was not within the power of a city to enact an ordinance exacting an inspection fee for products of a bakery located in another city which had complied with all the rules and regulations of the State Board of Health and city board of health of the city in which the bakery was located, and manufactured and shipped its products under the supervision of such State and city boards of health. The court said in effect that the statute giving the power of regulation in the sale of foods and drinks was paramount, and that it is elementary law that a municipal ordinance, in so far as it conflicts with the statute, is invalid. The reason is that the statute of the State operates within the limits of the municipal corporation the same as it does elsewhere, and that local laws and regulations are at all times subject to the paramount *Page 506 
authority of the Legislature. Hence, ordinances of cities and towns inconsistent with statutes on the same subject must be held of no effect unless they are authorized by an express legislative grant. As applying this principle according to the facts of the particular case, we cite the following: Carpenter v. Little Rock, 101 Ark. 238,142 S.W. 162; State v. Haynes, 175 Ark. 645, 300 S.W. 380; Duncan v. Jonesboro, 175 Ark. 650, 1 S.W.2d 58; and Bragg v. Adams, 180 Ark. 582, 21 S.W.2d 950. Therefore, the decree will be reversed, and the cause will be remanded, with directions to the chancery court to grant the prayer of the complaint of the plaintiffs.